   Case 19-01298-5-JNC                Doc 742 Filed 09/23/20 Entered 09/23/20 15:51:03         Page 1 of 2
VAN−093 Order − Rev. 04/16/2020

                            UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
IN RE:
CAH Acquisition Company 7, LLC                           CASE NO.: 19−01298−5−JNC
( known aliases: Prague Community Hospital )
PO Box 953446                                            DATE FILED: March 21, 2019
Saint Louis, MO 63195
                                                         CHAPTER: 11
TaxID: 26−3465335




       ORDER CONDITIONALLY APPROVING SECOND AMENDED DISCLOSURE STATEMENT,
 FIXING LAST DAY TO FILE OBJECTIONS TO THE SECOND AMENDED DISCLOSURE STATEMENT,
    FIXING LAST DAY TO FILE ACCEPTANCES/REJECTIONS OF THE SECOND AMENDED PLAN,
            SETTING HEARING ON CONFIRMATION OF THE SECOND AMENDED PLAN,
                          DIRECTING THAT BALLOTS BE FILED, AND
               DIRECTING THE PLAN PROPONENT TO FILE REPORT ON BALLOTS


A second amended disclosure statement under Chapter 11 of Title 11 of the United States Code having
been filed on September 18, 2020 , and a second amended plan having been filed on September 18,
2020 , referred to hereafter as plan and disclosure statement, and

It having been determined that the disclosure statement contains adequate information; now therefore,

IT IS ORDERED AND NOTICE IS HEREBY GIVEN that:

A. The disclosure statement referred to above is conditionally approved.

B. November 12, 2020 is fixed as the last day for filing and serving in accordance with Rule 3017(a),
Federal Rules of Bankruptcy Procedure, written objections to the disclosure statement. If no objections or
requests to modify the disclosure statement are filed on or before that date, the conditional approval of the
disclosure statement shall become final. Any objections to or requests to modify the disclosure statement
will be considered at the confirmation hearing held pursuant to 11 U.S.C. § 1128(a) and Rule 3020(b),
Federal Rules of Bankruptcy Procedure.

C. The hearing on confirmation of the plan is scheduled as follows:

DATE:          Wednesday, November 18, 2020
TIME:          10:00 AM
               Matter will be scheduled by video, teleconference. An invitation to
PLACE:         join, the hearing will be sent by email.



D. November 12, 2020 is fixed as the last day for filing written acceptances or rejections of the plan. The
ballot enclosed should be completed and filed with the plan proponent on or before that date.

E. November 12, 2020 is fixed as the last day for filing and serving written objections to confirmation of the
plan pursuant to Rule 3020(b)(1), Federal Rules of Bankruptcy Procedure.

F. On or before September 30, 2020 , the plan proponent must transmit the disclosure statement and the
plan referred to above, this order, and official form 14 (ballot for accepting and rejecting the plan), to all
creditors, equity security holders, Bankruptcy Administrator, and other parties in interest as provided in
   Case 19-01298-5-JNC          Doc 742 Filed 09/23/20 Entered 09/23/20 15:51:03              Page 2 of 2

Rule 3017(d), Federal Rules of Bankruptcy Procedure. A certificate of service must be filed with the court
on or before October 5, 2020 evidencing service.

G. The plan proponent must prepare and file a summary report on the votes, with a copy of each ballot
attached, with the Court by 5:00 pm one day prior to the confirmation hearing. The report should identify
the name of the creditor by class as designated in the plan, the acceptance, rejection, or, if no vote cast by
the creditor, the amount of each creditor's claim or amount of each creditor's vote. The report must be
summarized by each class of creditor established in the plan and must indicate if the number of
acceptances obtained were by the holders of two−thirds in amount and more than one−half in number of
claims in each class voting on the plan. A copy of the report must be served on the

U.S. Bankruptcy Administrator
434 Fayetteville Street
Suite 640
Raleigh, NC 27601

as well as on each member of the unsecured creditors' committee and counsel for the unsecured creditors'
committee. The report as filed with the clerk of court must have a certificate of service reflecting proper
service on the parties.

DATED: September 23, 2020

                                                           Joseph N. Callaway
                                                           United States Bankruptcy Judge
